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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                :             CHAPTER 7
                                                      :
YOO JIN KIM,                                          :             CASE NO. 18-68287-JWC
                                                      :
          Debtor.                                     :
                                                      :
                                                      :
S. GREGORY HAYS,                                      :
Chapter 7 Trustee for the Estate of                   :
Yoo Jin Kim,                                          :
                                                      :
          Plaintiff,                                  :
                                                      :
v.                                                    :             ADV. PRO. NO.
KEVIN DONG IL CHANG, and                              :
GEUM HEE KIM,                                         :
                                                      :
          Defendants.                                 :
                                                      :

                                           COMPLAINT

          COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Plaintiff”) for the bankruptcy

estate of Yoo Jin Kim (the “Bankruptcy Estate”), by and through undersigned counsel, and files

this Complaint against Kevin Dong Il Chang (“Mr. Chang”) and Geum Hee Kim (“Ms. Kim,” and

collectively with Mr. Chang, the “Defendants”) and respectfully shows the Court as follows:

                                       Jurisdiction and Venue

          1.      This Court has jurisdiction over this proceeding under 28 U.S.C. §§ 1334 and 157

and 11 U.S.C. §§ 363(h), 548, 550 and 551.

          2.      This adversary proceeding constitutes a core proceeding under 28 U.S.C. § 157

(b)(2).




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         3.    Venue is proper in this Court under 28 U.S.C. § 1409 because this adversary

proceeding arises in the Chapter 7 bankruptcy case of Debtor Yoo Jin Kim, Case No. 18-68287-

JWC (the “Bankruptcy Case”), pending in the Northern District of Georgia, Atlanta Division.

         4.    This adversary proceeding is initiated under Rules 7001(1), (2), and (3) of the

Federal Rules of Bankruptcy Procedure.

         5.    Defendant Ms. Kim is Debtor’s sister.

         6.    Defendant Mr. Chang is Debtor’s brother-in-law.

         7.    Defendant Mr. Chang is subject to the jurisdiction of this Court and may be

served under Rule 7004 of the Federal Rules of Bankruptcy Procedure by first class United

States Mail as follows:

                                     Kevin Dong Il Chang
                                      2876 Red Pine Ct.
                                      Duluth, GA 30096

         8.    Defendant Ms. Kim is subject to the jurisdiction of this Court and may be served

under Rule 7004 of the Federal Rules of Bankruptcy Procedure by first class United States Mail

as follows:

                                       Geum Hee Kim
                                      2876 Red Pine Ct.
                                      Duluth, GA 30096

         9.    Plaintiff consents to the entry of final orders or judgment by the Bankruptcy

Court.




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                                        Statement of Facts

                                      a. General Background

        10.     Debtor initiated the Bankruptcy Case by filing a voluntary petition for relief under

Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) on October 31, 2018 (the

“Petition Date”).

        11.     On the Petition Date, Debtor filed under penalty of perjury her Statement of

Financial Affairs (the “Sworn Statements”), Schedules A through J (the “Sworn Statements”),

and Other Bankruptcy Documents.

        12.     In response to Sworn Statements question no. 18, the Debtor testified that she

transferred property located at 2876 Red Pine Ct. Duluth, GA 30096 (the “Property”) to

Mr. Chang on October 19, 2017.

        13.     Plaintiff was appointed to the Bankruptcy Case as interim Chapter 7 Trustee

pursuant to 11 U.S.C. § 701(a)(1).

        14.     At the conclusion of the meeting of creditors, conducted in accordance with 11

U.S.C. § 341(a) on January 15, 2019, Plaintiff became the permanent Chapter 7 Trustee under 11

U.S.C. § 702(d). The duties of Plaintiff include an obligation to “collect and reduce to money

the property of the [Bankruptcy E]state. . . .” 11 U.S.C. § 704(a)(1).

              b. Sale of the Property and Transfers or Gifts Made at Closing of Sale

        15.     On or about October 19, 2017 Debtor executed a limited warranty deed conveying

the Property to Mr. Chang. The limited warranty deed was recorded on October 27, 2017 at

Deed Book 55489, Page 89, Gwinnet County Georgia Real Estate Records.

        16.     The Closing Statement for Debtor’s October 19, 2017 sale of the Property to Mr.

Chang indicates that Debtor made a “gift of equity” to Mr. Chang in the amount of $11,750, and




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that Debtor gave him a “seller credit” of $7,000. The Debtor’s “gift of equity” and “seller

credit” given to Mr. Chang at the closing of the Sale of the Property are hereinafter referred to as

the “Chang Transfers.”

        17.    The Closing Statement indicates that the sale price of the Property was

$235,000.00 and that a first mortgage in the amount of $126,702.81 was paid at closing.

                                  e. Debtor’s Financial Condition

        18.    There are unsecured claims filed in the Bankruptcy Case in the total amount of

$16,678.07.

        19.    On her Sworn Statements, Debtor scheduled total debts of $21,455.00 [Doc. No. 1

at page 38 of 51].

        20.    Debtor scheduled total assets with a value of $18,720.00. Id. This includes the

value of a vehicle scheduled with a value of $16,000.00, which is subject to a secured debt of

$13,198.00. Debtor claimed an exemption in the equity in the vehicle. Id. at pages 15, 20, and

22.

        21.    Upon information and belief, Debtor’s financial condition did not materially

change from the date of the Transfers to the Petition Date.

                                         Other Transfers

        22.    After her sale or transfer of the Property to Mr. Chang, Debtor made multiple

transfers to Ms. Kim in October of 2017 (some of which are identified as “gifts” on the check

memos).

        23.    The transfers to Ms. Kim (hereinafter referred to as the “Kim Transfers”) are

identified as follows:




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Checks to Geum H. Kim

                                                              Check
    Clear Date     Check Date     Check #      Amount        Memo
   10/25/2017      10/23/2017       109       $30,000.00     Gift
   10/31/2017      10/28/2017       118        $2,000.00     Gift
   10/31/2017      10/28/2017       119       $10,000.00     Gift
   10/31/2017      10/28/2017       120       $10,000.00     Gift
    11/1/2017      10/28/2017       121         $545.00      Gift
   11/13/2017       10/8/2017       143         $949.53
                                              $53,494.53


        24.      On information and belief, Debtor made other transfers to Mr. Chang or to Ms.

Kim in October of 2017.         These transfers (hereinafter referred to as the “Un-Identified

Transfers”) are identified as follows:

Other Withdrawals Payee Not Identified

    Clear Date     Check Date     Check #      Amount
   10/20/2017      10/20/2017    Withdrawal    $1,950.21
   10/23/2017      10/23/2017    Withdrawal    $7,200.00
   10/26/2017      10/26/2017    Withdrawal    $3,000.00
                                              $12,150.21


The Un-Identified Transfers, the Chang Transfers, and the Kim Transfers are collectively

hereinafter referred to as the “Transfers.”

        25.      During the course of this adversary proceeding, Trustee may learn (through

discovery or otherwise) of additional transfers made to Defendants during any applicable period

under the Bankruptcy Code or other applicable law. It is Trustee’s intention to avoid and recover,

under federal and state law, all transfers of any interest of Debtor in property made to or for the

benefit of Defendants or any other transferee, including but not limited to preferential,

fraudulent, and unauthorized post-petition transfers. Trustee reserves the right to amend this

Complaint to include: (i) further information regarding the Transfers, (ii) additional transfers,



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(iii) modifications of and/or revision to Defendants’ names, and/or (iv) additional defendants that

may become known to Trustee at any time during this Adversary Proceeding, through formal

discovery or otherwise, and for all such amendments to relate back to the date of filing of this

original Complaint.

                                             COUNT I

                               (Avoidance of fraudulent transfers
                              pursuant to 11 U.S.C. § 548(a)(1)(B))

        26.     Plaintiff realleges the allegations of paragraphs 1 through 25 above as though

fully set forth herein.

        27.     The Transfers were transfers of an interest of Debtor in property.

        28.     The Transfers were within two years before the Petition Date.

        29.     Debtor received less than reasonably equivalent value in exchange for the

Transfers.

        30.     Debtor was insolvent on the date of the Transfers or became insolvent as a result

thereof.

        31.     The Transfers were made to or for the benefit of an insider.

        32.     Pursuant to 11 U.S.C. § 548(a)(1)(B), Plaintiff is entitled to avoid the Transfers

made by Debtor to Defendants.

                                            COUNT II

                              (Avoidance of fraudulent transfers
                    pursuant to 11 U.S.C. § 548(a)(1)(A), Alternative Count)

        33.     Plaintiff realleges the allegations of paragraphs 1 through 32 above as though

fully set forth herein.

        34.     The Transfers constituted transfers of an interest of the Debtor in property.




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        35.      The Transfers were made within two (2) years of the Petition Date.

        36.      At the time of the Transfers, the Debtor was insolvent, or the Transfers rendered

her insolvent.

        37.      The Debtor made the Transfers with the actual intent to hinder, delay, or defraud

her creditors, as evidenced by the following “badges of fraud”: (a) Debtor received no monetary

consideration or value in exchange for the Transfers; (b) the Transfers were to or for the benefit

of insiders, her sister and her brother-in-law; (c) the Transfers occurred within two (2) years of

the Petition Date; (d) prior to and at the time of the Transfers, the Debtor had substantial debts

which remain unpaid; (e) Debtor was insolvent or rendered insolvent as a result of the Transfers;

and (g) Debtor failed to disclose the Transfers in her originally filed Sworn Statements.

        38.      Under 11 U.S.C. § 548(a)(1)(A), Plaintiff is entitled to avoid the Transfers made

by Debtor to Ms. Smith.

                                             COUNT III

                                 (Recovery of the avoided transfers
                                    pursuant to 11 U.S.C. § 550)

        39.      Plaintiff realleges the allegations of paragraphs 1 through 38 above as though

fully set forth herein.

        40.      Defendants were the initial transferees of the Transfers and/or the persons for

whose benefit the Transfers were made.

        41.      Pursuant to 11 U.S.C. § 550(a)(1), Plaintiff is entitled to recover for the Estate the

value of the Transfers from Defendants – specifically from Ms. Kim to the extent that she was

the initial transferee and from Mr. Chang to the extent that he was the initial transferee.




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                                             COUNT IV

                              (Preservation of the avoided transfers
                                   pursuant to 11 U.S.C. § 551)

        42.     Plaintiff realleges the allegations of paragraphs 1 through 41 above as though

fully set forth herein.

        43.     Once avoided, the Transfers are automatically preserved for the benefit of the

Estate, pursuant to 11 U.S.C. § 551.

        WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of Plaintiff and

against Defendant:

        a)    avoiding the Transfers pursuant to 11 U.S.C. § 548(a)(1)(B);

        b)    alternatively, avoiding the Transfers pursuant to 11 U.S.C. § 548(a)(1)(A);

        c)    requiring Defendants (specifically from Ms. Kim to the extent that she was the

              initial transferee and from Mr. Chang to the extent that he was the initial transferee)

              to return the value of the Transfers and/or holding them liable for the Transfers

              pursuant to 11 U.S.C. § 550;

        d)    preserving the avoided Transfers for the benefit of the Estate, pursuant to 11 U.S.C. §

              551;

        e)    reimbursing Plaintiff for all costs incurred in this action, including interest and

              attorney’s fees; and




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        f)    granting such other and further relief as is just and proper.

             This 20th day of October, 2020.

                                                ARNALL GOLDEN GREGORY LLP
                                                Attorneys for Plaintiff

                                                By: /s/ Michael J. Bargar
                                                     Michael J. Bargar
                                                     Georgia Bar No. 645709
                                                     michael.bargar@agg.com
                                                     William D. Matthews
                                                     Georgia Bar No. 470865
                                                     william.matthews@agg.com
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
P: (404) 873-8500
F: (404) 873-8501




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